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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION

UNITED STATES OF AMERICA,

VS.                                                 CRIMINAL ACTION NO. 1:06CR74

SHARON SMITH,                                                             DEFENDANT.

                                               ORDER

       This matter comes before the court upon Defendant Sharon Smith’s Motion for Leave to

Withdraw Plea of Guilty [127-1]. After due consideration of the motion and the response filed

thereto, the court finds as follows, to-wit:

       For the same reasons discussed by the Government in their response, which the court adopts

and incorporates herein, the motion to withdraw the guilty plea should be denied.

       IT IS THEREFORE ORDERED AND ADJUDGED that Defendant Sharon Smith’s

Motion for Leave to Withdraw Plea of Guilty [127-1] is DENIED.

       SO ORDERED this the 12th day of December, A.D., 2006.


                                                           /s/ W. Allen Pepper, Jr.
                                                           W. ALLEN PEPPER, JR.
                                                           UNITED STATES DISTRICT JUDGE
